                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION

                                     NO. 5:13-CR-238-FL-1
                                      NO. 5:16-CV-567-FL

CHESTER LAMAR WHEELESS,                        )
                                               )
                            Petitioner,        )
                                               )
          v.                                   )                     ORDER
                                               )
UNITED STATES OF AMERICA,                      )
                                               )
                            Respondent.        )


       This matter is before the court on petitioner’s motion to vacate, set aside, or correct

sentence pursuant to 28 U.S.C. § 2255 (DE 45), which challenges petitioner’s conviction for

possessing a firearm in furtherance of a crime of violence in light of the United States Supreme

Court’s rulings in Johnson v. United States, 135 S. Ct. 2551 (2015) and United States v. Davis,

139 S. Ct. 2319 (2019). The matter also is before the court on respondent’s motion to dismiss

(DE 59), which was briefed fully. For the reasons that follow, the court grants respondent’s

motion to dismiss, and denies petitioner’s motion to vacate.

                                          BACKGROUND

       On December 3, 2013, petitioner pleaded guilty, pursuant to a written plea agreement, to

Hobbs Act robbery, in violation of 18 U.S.C. § 1951 (count one), and brandishing a firearm during

and in relation to a crime of violence, in violation of 18 U.S.C. § 924(c) (count two). On March

12, 2014, the court sentenced petitioner to 57 months’ imprisonment on count one and a

consecutive term of 84 months’ imprisonment on count two, producing an aggregate custodial

sentence of 141 months.




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       On June 26, 2016, petitioner filed the instant motion to vacate, set aside, or correct

sentence, asserting that his § 924(c) conviction should be vacated in light of Johnson. On August

5, 2016, respondent moved to stay the § 2255 proceedings pending the United States Court of

Appeals for the Fourth Circuit’s resolution of United States v. Simms, 914 F.3d 229 (4th Cir.

2019). The court granted the motion to stay that same day. The Fourth Circuit decided Simms

on January 24, 2019, but stayed the mandate pending the Supreme Court’s decision in United

States v. Davis, No. 18-431. The Supreme Court decided Davis on June 24, 2019.

       On July 23, 2019, the court lifted the stay and directed the parties to file supplemental

briefing addressing the effect of Simms and Davis on petitioner’s motions. The parties then

requested further stay pending resolution of United States v. Ali, No. 15-4433 (4th Cir.), which

the court granted. On January 16, 2020, the court lifted the stay and directed the parties to file

supplemental briefing addressing whether the Fourth Circuit’s decision in United States v. Mathis,

932 F.3d 242 (4th Cir. 2019), forecloses petitioner’s claims. Respondent filed the instant motion

to dismiss on February 5, 2020, arguing petitioner’s motion to vacate should be dismissed pursuant

to Federal Rule of Civil Procedure 12(b)(6). On February 20, 2020, petitioner responded to the

motion to dismiss, conceding that Mathis establishes he is not entitled to habeas relief.

                                          DISCUSSION

A.     Standard of Review

       A petitioner seeking relief pursuant to 28 U.S.C. § 2255 must show that “the sentence was

imposed in violation of the Constitution or laws of the United States, or that the court was without

jurisdiction to impose such sentence, or that the sentence was in excess of the maximum authorized

by law, or is otherwise subject to collateral attack.” 28 U.S.C. § 2255(a). “Unless the motion

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and the files and records of the case conclusively show that the prisoner is entitled to no relief, the

court shall . . . grant a prompt hearing thereon, determine the issues and make findings of fact and

conclusions of law with respect thereto.” Id. § 2255(b).

B.     Analysis

       Pursuant to 18 U.S.C. § 924(c), a person convicted of brandishing a firearm “during and in

relation to any crime of violence or drug trafficking crime” is subject to a mandatory minimum

punishment of seven years’ imprisonment for the first conviction. 18 U.S.C. § 924(c)(1). The

sentence shall run consecutive to any sentence imposed for the predicate crime of violence or drug

trafficking crime. Id. § 924(c)(1)(A). Section 924(c)(3) defines crime of violence as an offense

that is a felony and:

       (A) has as an element the use, attempted use, or threatened use of physical force
       against the person or property of another [the “force clause”], or

       (B) that by its nature, involves a substantial risk that physical force against the
       person or property of another may be used in the course of committing the offense
       [the “residual clause”].

Id. § 924(c)(3)(A)-(B).

       Davis and Simms held that § 924(c)(3)(B) is unconstitutionally vague, thereby rendering

invalid § 924(c) convictions based on the residual clause definition of crime of violence. Davis,

139 S. Ct. at 2336; Simms, 914 F.3d at 237. The Davis and Simms decisions, however, do not

call into question the constitutionality of § 924(c)(3)(A). Thus, if petitioner’s predicate offense

qualifies as a crime of violence under subsection (c)(3)(A) (the force clause), his conviction

remains valid. See Mathis, 932 F.3d at 263-64.




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        Petitioner’s predicate offense is Hobbs Act robbery in violation of 18 U.S.C. § 1951,1 and

the Fourth Circuit has held that this offense qualifies as a crime of violence under § 924(c)’s force

clause. See id. at 265-66 (holding “Hobbs Act robbery constitutes a crime of violence under the

force clause of Section 924(c)”). Accordingly, petitioner’s § 924(c) conviction remains valid,

notwithstanding Davis and Simms.

C.      Certificate of Appealability

        Having determined that petitioner is not entitled to relief, the court turns to whether a

certificate of appealability should issue. A certificate of appealability may issue only upon a

“substantial showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). The

petitioner must demonstrate that reasonable jurists could debate whether the issues presented

should have been decided differently or that they are adequate to deserve encouragement to

proceed further. Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003); Slack v. McDaniel, 529 U.S.

473, 483-84 (2000). After reviewing the claims presented on collateral review in light of the

applicable standard, the court finds that a certificate of appealability is not warranted.




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         Although count two alleged defendant committed both substantive and attempted Hobbs Act robbery, the
§ 924(c) conviction was based solely on substantive Hobbs Act robbery. (See Indictment (DE 1))
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                                         CONCLUSION

       Based on the foregoing, the court GRANTS respondent’s motion to dismiss (DE 59) and

DENIES petitioner’s motion to vacate (DE 45). A certificate of appealability is DENIED. The

clerk is directed to close the instant § 2255 proceedings.

       SO ORDERED, this the 27th day of October, 2020.


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                                              LOUISE W. FLANAGAN
                                              United States District Judge




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